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                                               United States Bankruptcy Court
                                               Western District of Arkansas
In re:                                                                                                     Case No. 19-70508-btb
Marilyn Louise Erickson                                                                                    Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0861-3                  User: angie                        Page 1 of 2                          Date Rcvd: Oct 24, 2019
                                      Form ID: onoppobj                  Total Noticed: 22


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 26, 2019.
db            #+Marilyn Louise Erickson,   769 Airport 980,    Flippin, AR 72634-9438
sp             +Jennifer E. Gray,   Watkins, Boyer, Gray & Curry, PLLC,    1106 West Poplar Street,
                 Rogers, AR 72756-4244
4995572        +Albertelli Law,   1 Information Way, Suite 201,    Little Rock, AR 72202-2290
4995574        +Bureaus Investment Group Portf,    650 Dundee Rd, Ste 370,    Northbrook, IL 60062-2757
4995576         Central Credit Services, Inc.,    P.O.Box 15118,   Jacksonville, FL 32239-5118
4995579        +Good Samaritan Nursing Home,    300 Good Samaritan Drive,    Mountain Home, AR 72653-5813
4995582        +Mr. Cooper,   Attn: Bankruptcy,    8950 Cypress Waters Blvd,    Coppell, TX 75019-4620
4995584        +SYNCB/Furniture Fact.,   Attn: Bankruptcy Dept,     PO Box 965060,    Orlando, FL 32896-5060

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
4995573        +E-mail/Text: ally@ebn.phinsolutions.com Oct 25 2019 00:13:00        Ally Financial,
                 Attn: Bankruptcy Dept,    PO Box 380901,    Bloomington, MN 55438-0901
5039417         E-mail/Text: dena.wood@dfa.arkansas.gov Oct 25 2019 00:12:59
                 Arkansas Department of Finance and Admin.,      Legal Counsel Room 2380,   P O Box 1272,
                 Little Rock, AR 72203-1272
4995575        +E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Oct 25 2019 00:22:04        Capital One,
                 Attn: Bankruptcy,   PO Box 30285,     Salt Lake City, UT 84130-0285
5039864        +E-mail/PDF: EBN_AIS@AMERICANINFOSOURCE.COM Oct 25 2019 00:22:12
                 Capital One Bank (USA), N.A.,    4515 N Santa Fe Ave,     Oklahoma City, OK 73118-7901
4995577        +E-mail/PDF: creditonebknotifications@resurgent.com Oct 25 2019 00:21:31        Credit One Bank,
                 Attn: Bankruptcy,   PO Box 98873,     Las Vegas, NV 89193-8873
4995578         E-mail/Text: dena.wood@dfa.arkansas.gov Oct 25 2019 00:12:59        Department of Finance & Admin.,
                 Income Tax Section,    PO Box 8090,    Little Rock, AR 72203-8090
4995580         E-mail/Text: bankruptcies@halstedfinancial.com Oct 25 2019 00:13:23
                 Halsted Financial Services LLC,     PO Box 828,    Skokie, IL 60076-0828
5037835         E-mail/PDF: resurgentbknotifications@resurgent.com Oct 25 2019 00:21:31        LVNV Funding, LLC,
                 Resurgent Capital Services,    PO Box 10587,     Greenville, SC 29603-0587
4995581        +E-mail/PDF: resurgentbknotifications@resurgent.com Oct 25 2019 00:22:10
                 LVNV Funding/Resurgent Capital,     Attn: Bankruptcy,    PO Box 10497,
                 Greenville, SC 29603-0497
5057724        +E-mail/Text: bankruptcydpt@mcmcg.com Oct 25 2019 00:13:10        Midland Funding, LLC,
                 Midland Credit Management, Inc. as agent,     for Midland Funding, LLC,    PO BOX 2011,
                 Warren, MI 48090-2011
4996246        +E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Oct 25 2019 00:21:49
                 PRA Receivables Management, LLC,     PO Box 41021,    Norfolk, VA 23541-1021
4995583        +E-mail/PDF: gecsedi@recoverycorp.com Oct 25 2019 00:21:28        Syncb/care Credit,
                 Attn: Bankruptcy,   PO Box 965060,     Orlando, FL 32896-5060
5060773        +E-mail/PDF: gecsedi@recoverycorp.com Oct 25 2019 00:21:28        Synchrony Bank,
                 c/o PRA Receivables Management, LLC,     PO Box 41021,    Norfolk, VA 23541-1021
4995585        +E-mail/PDF: gecsedi@recoverycorp.com Oct 25 2019 00:21:48        Synchrony Bank/Lowes,
                 Attn: Bankruptcy Dept,     PO Box 965060,    Orlando, FL 32896-5060
                                                                                               TOTAL: 14

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 26, 2019                                            Signature: /s/Joseph Speetjens
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                              Form ID: onoppobj           Total Noticed: 22

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 24, 2019 at the address(es) listed below:
              Bianca Rucker     on behalf of Trustee Bianca Rucker ruckerlaw@outlook.com,
               jruckerlaw@outlook.com;pbruckerlaw@outlook.com;gjruckerlaw@outlook.com
              Bianca Rucker     ruckerlaw@outlook.com,
               jruckerlaw@outlook.com;pbruckerlaw@outlook.com;gjruckerlaw@outlook.com;AR37@ecfcbis.com
              Brien Garrett Saputo    on behalf of Creditor    Select Portfolio Servicing, Inc
               bsaputo@mwzmlaw.com, arwd@mwzmlaw.com
              James Michael McPherson    on behalf of Creditor    Nationstar Mortgage LLC jmcpherson@alaw.net,
               bkar@alaw.net;anhasalaw@infoex.com
              Leslie N. Mann    on behalf of Creditor   Select Portfolio Servicing, Inc lmann@mwzmlaw.com,
               arwd@mwzmlaw.com
              Paul Allen Bayless    on behalf of Debtor Marilyn Louise Erickson cooplaw@suddenlinkmail.com
              Sarah Murphy McDaniel    on behalf of Creditor    Select Portfolio Servicing, Inc
               smcdaniel@mwzmlaw.com, arwd@mwzmlaw.com
              U.S. Trustee (ust)    USTPRegion13.LR.ECF@usdoj.gov,
               Shari.Sherman@usdoj.gov;Cecilia.A.Boyle@usdoj.gov;jackie.a.evatt@usdoj.gov;jill.p.eschbacher@usdo
               j.gov
                                                                                               TOTAL: 8
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Form onoppobj
                                    UNITED STATES BANKRUPTCY COURT
                                          Western District of Arkansas


In Re:      Marilyn Louise Erickson                                            Case No.: 3:19−bk−70508
            Debtor                                                             Chapter: 7
                                                                               Judge: Ben T Barry
Select Portfolio Servicing, Inc                                                MOVANT
vs.
Marilyn Louise Erickson
and Bianca Rucker, Trustee                                                     RESPONDENTS


                       ORDER ON AND NOTICE OF OPPORTUNITY TO OBJECT TO
                     MOTION FOR RELIEF FROM STAY AND/OR FOR ABANDONMENT


YOU ARE HEREBY NOTIFIED that a Motion for Relief from Stay pursuant to 11 U.S.C. §362(d) and/or for
Abandonment pursuant to 11 U.S.C. §554 was filed by Movant on 10/23/19.

51 − Motion for Relief from Stay and Motion to Abandon . Fee Amount $181 Filed by Sarah Murphy McDaniel on
behalf of Select Portfolio Servicing, Inc (McDaniel, Sarah)

YOU ARE FURTHER NOTIFIED THAT you have twenty−one (21) days from the date of this Notice to file a
written response. If a response is filed, a hearing will be held as follows:
12/4/19 at 09:00 AM at:
U.S. Federal Building, 35 E. Mountain St., 4th Floor, Room 416, Fayetteville, AR 72701
FAILURE TO FILE A RESPONSE TO THIS MOTION FOR RELIEF FROM STAY AND/OR FOR
ABANDONMENT SHALL BE DEEMED A STATEMENT OF NO OPPOSITION TO THE MOTION AND
A WAIVER OF THE RIGHT TO A HEARING UNDER 11 U.S.C. §362(d) AND §554, AND THE COURT
MAY ENTER, WITHOUT FURTHER NOTICE, AN ORDER GRANTING THE MOTION.

If no objection or response is filed, counsel for the moving party shall submit the precedent granting the motion
forthwith.
It is hereby ORDERED that, if and to the extent the automatic stay is in force, it shall remain in force pursuant to 11
U.S.C. §362(e) pending disposition of the Motion for Relief from Stay.
IT IS SO ORDERED

Dated: 10/24/19



                                             UNITED STATES BANKRUPTCY JUDGE
